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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                      CASE NUMBER:
                                                                                                ~.~ al- S~ ~-~
                                                    PLAINTIFF    ~./,~~~~/~
                                v.                                    ~'~J         1 i GI ~(il~           ~ ~~~


                                                                         DECLARATION RE PASSPORT AND
                 ~GL~A /1 w N                                              OTHER TRAVEL DOCUMENTS
 L~~'~f`~
                                                 DEFENDANT.


I,      ~~wa~~          Qwc~a~jq q                                                 ,declare that
                            (Defendant/Material Witness)

 ❑      I have never been issued any passport or other travel document by any country. I will not apply for a passport or
        other travel document during the pendency of this case.
 Lam,   I have been issued a passport or other travel document(s). I will surrender my passport and all other travel
 ~      document(s) issued to me to the U.S. Pretrial Services Agency by the deadline imposed. I will not apply for a
         passport or other travel document during the pendency of this case.
 ❑       I am unable to locate my passports) or other travel document(s). If I locate any passport or other travel
         document issued to me,I will immediately surrender it to the U.S. Pretrial Services Agency. I will not apply for a
         passport or other travel document during the pendency of this case.

 ❑       My passport and all other travel documents issued to me are in the possession of federal authorities. If any such
         document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial
         Services Agency. I will not apply for a passport or other travel document during the pendency of this case.


I declare under penalty of perjury that the foregoing is true and correct.
                     .rA
Executed this      <<            day of /VD vG ~~~              ,2p 2~
at
                                     (City and State)

                                                                  Signature ofDefendant/Material Witness


If the declarant is not an English speaker,include the following:
I,                                            am fluent in written and spoken English and
languages. I accurately translated this form from English into
to declarant                                                       on this date.

Date:
                                                                  Interpreter

CR-37(OS/15)                         DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS
